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 1   TED W. CASSMAN
     ARGUEDAS, CASSMAN & HEADLEY, LLP
 2   803 Hearst Avenue
     Berkeley, CA 94710
 3   Telephone: (510) 845-3000

 4   Attorneys for Defendant
     CHI KEUNG HUI
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 9                     IN THE DISTRICT COURT OF THE UNITED STATES

10                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

11                                   SACRAMENTO DIVISION

12

13   UNITED STATES OF AMERICA,                        No. 08-CR-0064

14                  Plaintiff,                        STIPULATION AND PROPOSED
                                                      ORDER TO CONTINUE
15   vs.                                              STATUS CONFERENCE

16   CHI KEUNG HUI,

17                  Defendant.

18                                         /

19                  It is hereby stipulated by and between the parties of record that the status

20   conference in the above-referenced matter should be continued from July 7, 2011 to

21   August 11 at 9:00 a.m. It is further stipulated that there is good cause for said

22   continuance to accommodate conflicts arising from counsels’ personal and trial

23   schedules and for defense preparation and continuity of counsel pursuant to 18

24   U.S.C.§ 3161 (h)(7)(A) and (B)(iv), Local Code T -4.

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 1   Dated: July 5, 2011

 2

 3                                                    /s/
                                              TED W. CASSMAN,
 4                                            Attorney for Defendant
                                              CHI KEUNG HUI
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     Dated: July 5, 2011
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                                                        /s/
 9                                            MICHAEL BECKWITH,
                                              Assistant United States Attorney
10

11                                            ORDER

12                 For the reasons stated above, the status conference in this matter,

13   currently set for July 7, 2011, is continued to August 11, 2011; and the time beginning,

14   July 7, 2011, and extending through August 11, 2001, is excluded from the calculation

15   of time under the Speedy Trial Act for effective defense preparation. The Court finds

16   that interests of justice served by granting this continuance outweigh the best interests

17   of the public and the defendants in a speedy trial. 18 U.S.C.§ 3161 (h)(7)(A) and

18   (B)(iv), Local Code T -4.

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      Dated: July 11, 2011
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                                               MORRISON C. ENGLAND, JR.
22                                             UNITED STATES DISTRICT JUDGE

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